Case 8:19-cv-02372-WFJ-AAS Document 17 Filed 03/17/21 Page 1 of 2 PageID 60




                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ERNEST WILSON,                            CASE NO.: 8:19-cv-02372-WFJ-AAS

      Plaintiff,
vs.

BLUESTEM BRANDS, INC.
d/b/a GETTINGTON.COM and
d/b/a FINGERHUT,

      Defendant.
__________________________________/

          JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Ernest Wilson, and

Defendant Bluestem Brands, Inc., hereby stipulate to dismiss, with prejudice,

each claim and count therein asserted by Plaintiff against Defendant in the

above-styled action, with Plaintiff and Defendant to bear their own attorney’s

fees, costs, and expenses.
Case 8:19-cv-02372-WFJ-AAS Document 17 Filed 03/17/21 Page 2 of 2 PageID 61




Respectfully submitted this 17th day of March, 2021.

/s/ Christopher Boss                          /s/ Kimberly A. Koves
Christopher Boss, Esq., FBN: 13183            Kimberly A. Koves, Esq., FBN: 100282
Boss Law                                      Ailen Cruz, Esq., FBN: 105826
2100 4th Street North                         Guerra King P.A.
St. Petersburg, FL 33704                      5505 West Gray St.
Telephone: 727-471-0039                       Tampa, FL 33609
chris@bosslegal.com                           Telephone: (813) 347-5100
cp@bosslegal.com                              Facsmile: (813) 347-5198
Attroneys for Plaintiff                       kkoves@guerraking.com
                                              acruz@guerraking.com
                                              Attorneys for Defendant

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 17, 2021, a true and correct copy of the

above and foregoing was electronically filed via CM/ECF, which will

electronically serve all counsel of record.



                                                /s/ Kimberly A. Koves
                                                Attorney




                                          2
